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                                  3                                 UNITED STATES DISTRICT COURT

                                  4                             NORTHERN DISTRICT OF CALIFORNIA

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                                         WHATSAPP INC., et al.,
                                  7                                                    Case No. 19-cv-07123-PJH
                                                      Plaintiffs,
                                  8
                                                v.                                     ORDER DENYING REQUEST FOR
                                  9                                                    TELEPHONE CONFERENCE
                                         NSO GROUP TECHNOLOGIES
                                  10     LIMITED, et al.,
                                  11                  Defendants.

                                  12
Northern District of California
 United States District Court




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                                  14          The court has reviewed counsel’s emails to the Courtroom Deputy about their
                                  15   difficulties in scheduling depositions for which defendant has requested an emergency
                                  16   phone conference. The court declines to intervene and expects counsel to cooperate
                                  17   with each other in scheduling all discovery. Additionally, the court cautions defendant
                                  18   that it would be ill-advised to incur expenses traveling to a deposition of a witness who
                                  19   defendant has already been notified cannot appear. Counsel are directed to work it out.
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                                  21          IT IS SO ORDERED.
                                  22   Dated: July 30, 2024
                                  23                                                   /s/ Phyllis J. Hamilton
                                                                                   PHYLLIS J. HAMILTON
                                  24                                               United States District Judge
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